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                        IN THE UNITED STATES DISTRICT COURT FOR THE
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                               EASTERN DISTRICT OF CALIFORNIA
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         UNITED STATES OF AMERICA,                   1:02-cr-5050-AWI
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                           Plaintiff,                ORDER DENYING DEFENDANT’S
11
                   v.                                MOTION TO COMPEL COUNSEL TO
12                                                   PRODUCE TRANSCRIPTS
         JOSE TRINIDAD LOPEZ,
13                                                   (Doc. 255)
                     Defendant.
14 __________________________________/
15          Defendant Jose Trinidad Lopez has filed a motion to compel defense counsel to provide
16 the Defendant with a copy of trial transcripts to aid him in filing a motion to vacate pursuant to
17 28 U.S.C. § 2255. Doc. 255. Defense counsel responded by indicating that the entirety of
18 Defendant’s file had been transferred to Defendant. Doc. 256. Even assuming that the file
19 transferred to Defendant did not contain a copy of the transcript of his trial, Defendant has
20 already filed a motion to vacate pursuant to 28 U.S.C. § 2255 that was denied by this Court. Doc.
21 285. Defendant’s need for the requested transcripts no longer exists. Accordingly, Defendant’s
22 motion to compel the production of those transcripts is DENIED.
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24 IT IS SO ORDERED.
25 Dated:    December 23, 2015
                                                SENIOR DISTRICT JUDGE
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